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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        MC 21-175-JAK (KSx)                                        Date: March 8, 2021
 Title       In re Application of Shervin Pishevar for an Order to Take Discovery for Use in
             Foreign Proceedings Pursuant to 28 U.S.C. § 1782



 Present: The Honorable:      Karen L. Stevenson, United States Magistrate Judge


                    Gay Roberson                                            N/A
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:

 Proceedings: (IN CHAMBERS) ORDER RE: REQUEST TO PROCEED EX PARTE
 [Dkt. No. 5]

         The Court is in receipt of Petitioner’s Request to Proceed Ex Parte with his Application
 for an Order to Conduct Discovery for Use in Foreign Proceedings Pursuant to 28 U.S.C. § 1782.
 (Dkt. No. 5 (the “Request”).)

        Having considered the papers submitted by Petitioner, the Court finds that Petitioner may
 proceed ex parte pursuant to Local Rule 7-19.1. Accordingly, IT IS HEREBY ORDERED
 that Petitioner’s Request is GRANTED. Petitioner’s Application for an Order to Conduct
 Discovery pursuant to § 1782 (Dkt. No. 1) is taken under submission and an Order will issue.

         IT IS SO ORDERED.
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                                                                  Initials of Preparer   gr




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